Case 24-80043-sgj11           Doc 7     Filed 05/06/24 Entered 05/06/24 23:28:41                  Desc Main
                                       Document      Page 1 of 36




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


    In re:                                                   Chapter 11

    EIGER BIOPHARMACEUTICALS, INC., et                       Case No. 24-80040 (SGJ)
    al. 1
                                                             (Jointly Administered)
                            Debtors.


                STATEMENT OF FINANCIAL AFFAIRS OF
DEBTOR EIGER BIOPHARMACEUTICALS EUROPE LIMITED (CASE NO. 24-80043)




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are: Eiger BioPharmaceuticals, Inc. (1591); EBPI Merger Inc. (9986); EB Pharma LLC
     (8352); Eiger BioPharmaceuticals Europe Limited (N/A); and EigerBio Europe Limited (N/A). The Debtors’
     service address is 2100 Ross Avenue, Dallas, Texas 75201.
Case 24-80043-sgj11             Doc 7      Filed 05/06/24 Entered 05/06/24 23:28:41                         Desc Main
                                          Document      Page 2 of 36




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    EIGER BIOPHARMACEUTICALS, INC., et                             Case No. 24-80040 (SGJ)
    al. 1
                                                                   (Jointly Administered)
                               Debtors.


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
  OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       On April 1, 2024 (the “Petition Date”), Eiger BioPharmaceuticals, Inc. and its affiliated
debtors in the above-captioned chapter 11 cases (each a “Debtor” and, collectively, the “Debtors”)
commenced voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11, United States
Code, §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas (the “Court”).

       The Debtors continue to operate their businesses and manage their properties as debtors
and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered under case number 24-80040 (SGJ).

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) were prepared pursuant to section 521 of the Bankruptcy Code and
Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
management of the Debtors with unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements of Financial Affairs (the “Global Notes”) are
incorporated by reference in, and comprise an integral part of, each Debtor’s respective Schedules
and Statements, and should be referred to and considered in connection with any review of the
Schedules and Statements.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. The Debtors, and

1    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
     number, are: Eiger BioPharmaceuticals, Inc. (1591); EBPI Merger Inc. (9986); EB Pharma LLC (8352); Eiger
     BioPharmaceuticals Europe Limited (N/A); and EigerBio Europe Limited (N/A). The Debtors’ service address
     is 2100 Ross Avenue, Dallas, Texas 75201.
Case 24-80043-sgj11         Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41               Desc Main
                                    Document      Page 3 of 36



their agents, attorneys, and advisors do not guarantee or warrant the accuracy or completeness of
the data that is provided herein, and shall not be liable for any loss or injury arising out of or caused
in whole or in part by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. While reasonable efforts have been made to provide accurate and complete
information herein, inadvertent errors or omissions may exist. The Debtors reserve their rights to
amend and supplement the Schedules and Statements as may be necessary or appropriate. For the
avoidance of doubt, the Debtors and their agents, attorneys, and advisors expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event shall the Debtors, or their agents,
attorneys, and advisors, be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, or advisors are advised of the possibility of such damages.

        Given, among other things, the uncertainty surrounding the valuation and nature of certain
assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission that such Debtor was solvent on the Petition Date or at any time prior to the Petition
Date. Likewise, to the extent that a Debtor shows more liabilities than assets, it is not an admission
that such Debtor was insolvent on the Petition Date or any time prior to the Petition Date.

        Douglas Staut has signed each set of the Schedules and Statements. Mr. Staut serves as
the Chief Restructuring Officer (“CRO”) of the Debtors, and he is an authorized signatory for each
of the Debtors in these Chapter 11 Cases. In reviewing and signing the Schedules and Statements,
Mr. Staut has necessarily relied upon the efforts, statements, advice, and representations of the
Debtors and their advisors. Mr. Staut has not (and could not have) personally verified the accuracy
of each such statement and representation, including statements and representations concerning
amounts owed to creditors, classification of such amounts, and creditor addresses.

                           Global Notes and Overview of Methodology

        1.     In the ordinary course of business, the Debtors routinely engage in intercompany
transactions (collectively, the “Intercompany Transactions”) with one another, which result in
intercompany receivables and payables (collectively, the “Intercompany Claims”). Intercompany
Transactions and Intercompany Claims arise from relationships and historical practice, or certain
intercompany agreements and intercompany loans (collectively, the “Intercompany Relationships”
or “Intercompany Agreements”) to support operations and shared service functions, including
product development services, software sales, software licensing, provision of management
services, revenue sharing arrangements, back-office support transactions and intercompany loan
and interest payments. The Debtors manually track and allocate receivables and payables across
the corporate enterprise.

       2.     EB Pharma LLC. EB Pharma LLC (“EB Pharma”) is a wholly-owned subsidiary
of Eiger BioPharmaceuticals, Inc. (“Eiger”), which is the primary operating entity. EB Pharma
had no operations in the year prior to the Petition Date other than tax filings. EB Pharma has no


                                                   2
Case 24-80043-sgj11       Doc 7     Filed 05/06/24 Entered 05/06/24 23:28:41             Desc Main
                                   Document      Page 4 of 36



sales receipts. All vendors supporting its tax filings are paid by Eiger. Accordingly, the Debtors
have reported the only assets owned by EB Pharma, which includes licenses and interests in
insurance policies. The Debtors reserve all rights to amend and supplement the Schedules and
Statements as may be necessary or appropriate.

        3.      Eiger BioPharmaceuticals Europe Limited. Eiger BioPharmaceuticals Europe
Limited (“Eiger BioPharmaceuticals Europe”) is a wholly-owned subsidiary of Eiger. Eiger
BioPharmaceuticals Europe had no operations in the year prior to the Petition Date other than tax
filings. Eiger BioPharmaceuticals Europe has no sales receipts. All vendors supporting its tax
filings are paid by Eiger. The Debtors reserve all rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        4.     EBPI Merger Inc. EBPI Merger Inc. (“EBPI Merger”) is a wholly-owned
subsidiary of Eiger. EBPI Merger had no operations in the year prior to the Petition Date other
than tax filings. EBPI Merger has no sales receipts. Tax liabilities for EBPI Merger are paid
through Eiger’s operating accounts. Accordingly, the Debtors have reported the only assets owned
by EBPI Merger, which includes intellectual property and interests in insurance policies or
annuities. The Debtors reserve all rights to amend and supplement the Schedules and Statements
as may be necessary or appropriate.

       5.      EigerBio Europe Limited. EigerBio Europe Limited (“EigerBio Europe”) is a
wholly-owned subsidiary of Eiger. EigerBio Europe incurs rent and other operating expenses.
Cash collections from any sales in Germany are deposited into EigerBio Europe’s bank account.
The Debtors have reported the assets owned by EigerBio Europe. The Debtors reserve all rights
to amend and supplement the Schedules and Statements as may be necessary or appropriate.

        6.      Reservations and Limitations. Reasonable efforts have been made to prepare and
file complete and accurate Schedules and Statements; however, as noted above, inadvertent errors
or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate. Nothing contained in the Schedules and
Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind with
respect to these Chapter 11 Cases, including, but not limited to, any rights or claims of the Debtors
against any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.

       (b)     Recharacterization. Notwithstanding that the Debtors have made reasonable
               efforts to correctly characterize, classify, categorize, or designate certain claims,
               assets, executory contracts, unexpired leases, and other items reported in the



                                                 3
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41              Desc Main
                               Document      Page 5 of 36



            Schedules and Statements, the Debtors nonetheless may have improperly
            characterized, classified, categorized, or designated certain items. The Debtors
            reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
            reported in the Schedules and Statements at a later time as is necessary and
            appropriate, including, without limitation, whether contracts or leases listed herein
            were deemed executory or unexpired as of the Petition Date and remain executory
            and unexpired post-petition. Disclosure of information in one or more Schedules,
            Statements, or one or more exhibits or attachments thereto, even if incorrectly
            placed, shall be deemed to be disclosed in the correct Schedules, Statements,
            exhibits, or attachments.

      (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
            Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
            “executory” or “unexpired” does not constitute an admission by the Debtors of the
            legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
            rights to recharacterize or reclassify such claim or contract or to setoff such claim.

      (d)   Claims Description. Any failure to designate a claim on the Debtors’ Schedules
            and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
            an admission by the Debtors that such amount is not “disputed,” “contingent,” or
            “unliquidated.” Each Debtor reserves all rights to dispute, or assert offsets or
            defenses to, any claim reflected on its respective Schedules and Statements on any
            grounds, including, without limitation, liability, or classification, or to otherwise
            subsequently designate such claims as “disputed,” “contingent,” or “unliquidated”
            or object to the extent, validity, enforceability, or priority of any claim. Moreover,
            listing a claim does not constitute an admission of liability by the Debtors against
            which the claim is listed or by any of the Debtors. The Debtors reserve all rights
            to amend their Schedules and Statements as necessary and appropriate, including,
            but not limited to, with respect to claim description and designation.

      (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
            required the Debtors to make reasonable estimates and assumptions with respect to
            the reported amounts of assets and liabilities, the amount of contingent assets and
            contingent liabilities on the Schedules and Statements, and the reported amounts of
            revenues and expenses during the applicable reporting periods. Actual results could
            differ from such estimates.

      (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
            all current and potential causes of action the Debtors may have against third parties
            in their respective Schedules and Statements, including, without limitation,
            avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
            other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
            reserve all rights with respect to any causes of action, and nothing in these Global
            Notes or the Schedules and Statements should be construed as a waiver of any such
            causes of action.




                                              4
Case 24-80043-sgj11     Doc 7     Filed 05/06/24 Entered 05/06/24 23:28:41               Desc Main
                                 Document      Page 6 of 36



      (g)    Intellectual Property Rights. Exclusion of certain intellectual property from the
             Schedules and Statements should not be construed as an admission that such
             intellectual property rights have been abandoned, have been terminated or
             otherwise expired by their terms, or have been assigned or otherwise transferred
             pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
             intellectual property rights in the Schedules and Statements should not be construed
             as an admission that such intellectual property rights have not been abandoned,
             have not been terminated or otherwise expired by their terms, or have not been
             assigned or otherwise transferred pursuant to a sale, acquisition, or other
             transaction.

      (h)    Executory Contracts and Unexpired Leases. Although the Debtors made
             diligent efforts to identify contracts and unexpired leases as executory within the
             scope of section 365 of the Bankruptcy Code and to attribute an executory contract
             to its rightful Debtors, in certain instances, the Debtors may have inadvertently
             failed to do so due to the complexity and size of the Debtors’ businesses.
             Accordingly, the Debtors reserve all of their rights with respect to the inclusion or
             exclusion of executory contracts and unexpired leases, as well as the named parties
             to any and all executory contracts and unexpired leases, including the right to
             amend Schedule G at any time during the pendency of these Chapter 11 Cases.

      (i)    Insiders. In the circumstance where the Schedules and Statements require
             information regarding “insiders,” the Debtors have included information with
             respect to certain individuals who served as officers and directors, as the case may
             be, during the relevant time periods. Such individuals may no longer serve in such
             capacities.

             The listing or omission of a party as an insider for purposes of the Schedules and
             Statements is not intended to be, nor should it be, construed as an admission of any
             fact, right, claim, or defense and all such rights, claims, and defenses are hereby
             expressly reserved. Information regarding the individuals listed as insiders in the
             Schedules and Statements has been included for informational purposes only and
             such information may not be used for: (i) the purposes of determining (A) control
             of the Debtors; (B) the extent to which any individual exercised management
             responsibilities or functions; (C) corporate decision-making authority over the
             Debtors; or (D) whether such individual could successfully argue that he or she is
             not an insider under applicable law, including the Bankruptcy Code and federal
             securities laws, or with respect to any theories of liability or (ii) any other purpose.

7.    Description of Cases and “As Of” Information Date. On April 1, 2024, or the Petition
      Date, each of the Debtors filed a voluntary petition for relief under chapter 11 of the
      Bankruptcy Code in the Court. The Debtors continue to operate their business. The
      information provided herein, except as otherwise noted, is reported as of the Petition Date
      of each respective Debtor, as appropriate.

8.    Methodology.




                                                5
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41             Desc Main
                               Document      Page 7 of 36



      (a)   Basis of Presentation. The Schedules and Statements do not purport to represent
            financial statements prepared in accordance with Generally Accepted Accounting
            Principles in the United States (“GAAP”) nor are they intended to be fully
            reconciled to the financial statements of each Debtor. The Schedules and
            Statements contain unaudited information that is subject to further review and
            potential adjustment. The Schedules and Statements reflect the Debtors’
            reasonable efforts to report the assets and liabilities of each Debtor on an
            unconsolidated basis.

      (b)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
            may properly be disclosed in multiple parts of the Statements and Schedules. To
            the extent these disclosures would be duplicative, the Debtors have endeavored to
            only list such assets, liabilities, and prepetition payments once.

      (c)   Net Book Value. In certain instances, current market valuations for individual
            items of property and other assets are neither maintained by, nor readily available
            to the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
            and Statements reflect net book values as of the Petition Date. Market values may
            vary, in some instances, materially, from net book values. The Debtors believe that
            it would be an inefficient use of estate assets for the Debtors to obtain the current
            market values of their property. Accordingly, the Debtors have indicated in the
            Schedules and Statements that the market values of certain assets and liabilities are
            undetermined. Also, assets that have been fully depreciated or that were expensed
            for accounting purposes either do not appear in these Schedules and Statements, or
            are listed with a zero-dollar value, as such assets have no net book value. The
            omission of an asset from the Schedules and Statements does not constitute a
            representation regarding the ownership of such asset, and any such omission does
            not constitute a waiver of any rights of the Debtors with respect to such asset.

      (d)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
            or “undetermined” is not intended to reflect upon the materiality of such amount.

      (e)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
            Debtors are scheduled as “unliquidated.”

      (f)   Totals. All totals that are included in the Schedules and Statements represent totals
            of all known amounts. To the extent there are unknown or undetermined amounts,
            the actual total may be different from the listed total.

      (g)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
            payables pursuant to various orders entered by the Court. The Debtors scheduled
            such amounts as of the Petition Date and noted such amounts as contingent. To the
            extent the Debtors later pay any amount of the claims listed in the Schedules and
            Statements pursuant to any orders entered by the Court, the Debtors reserve all
            rights to amend or supplement the Schedules and Statements or to take other action,
            such as filing claims objections, as is necessary and appropriate to avoid
            overpayment or duplicate payments for liabilities. Nothing contained herein should



                                              6
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41             Desc Main
                               Document      Page 8 of 36



            be deemed to alter the rights of any party in interest to contest a payment made
            pursuant to an order of the Court where such order preserves the right to contest.

      (h)   Liens. The inventories, property, and equipment listed in the Schedules and
            Statements are presented without consideration of any liens.

      (i)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
            Some bank accounts in EigerBio Europe may be held in Euro but converted to the
            U.S. Dollar equivalent as of the Petition Date.

      (j)   Liabilities. The Debtors have sought to allocate liabilities between the prepetition
            and postpetition periods based on the information and research conducted in
            connection with the preparation of the Schedules and Statements. As additional
            information becomes available and further research is conducted, the allocation of
            liabilities between the prepetition and postpetition periods may change. The
            Debtors reserve the right to amend the Schedules and Statements as they deem
            appropriate in this and all other regards.

      (k)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
            assets and liabilities from the Schedules and Statements, including, but not limited
            to: certain deferred charges, investments in subsidiaries, reserves recorded only for
            purposes of complying with the requirements of GAAP, and deferred tax assets,
            and deferred tax liabilities. The Debtors have also excluded rejection damage
            claims of counterparties to executory contracts and unexpired leases that may or
            may not be rejected, to the extent such damage claims exist. Other immaterial
            assets and liabilities may also have been excluded.

      (l)   Credits and Adjustments. The claims of individual creditors for, among other
            things, goods, products, services, or taxes are listed as the amounts entered on the
            Debtors’ books and records and may either (i) not reflect credits, allowances, or
            other adjustments due from such creditors to the Debtors or (ii) be net of accrued
            credits, allowances, or other adjustments that are actually owed by a creditor to the
            Debtors on a postpetition basis on account of such credits, allowances, or other
            adjustments earned from prepetition payments and critical vendor payments, if
            applicable. The Debtors reserve all of their rights with regard to such credits,
            allowances, or other adjustments, including, but not limited to, the right to modify
            the Schedules, assert claims objections and/or setoffs with respect to the same, or
            apply such allowances in the ordinary course of business on a postpetition basis.

      (m)   Setoffs. The Debtors may periodically incur setoffs and net payments in the
            ordinary course of business. Such setoffs and nettings may occur due to a variety
            of transactions or disputes. Although such setoffs and other similar rights may have
            been accounted for when scheduling certain amounts, these ordinary course setoffs
            are not independently accounted for, and as such, are or may be excluded from the
            Debtors’ Schedules and Statements. The Debtors reserve all rights to challenge any
            setoff and/or recoupment rights that may be asserted.




                                              7
Case 24-80043-sgj11     Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41              Desc Main
                                Document      Page 9 of 36



9.    Global Notes Control. These Global Notes pertain to and comprise an integral part of
      each of the Schedules and Statements and should be referenced in connection with any
      review thereof. In the event that the Schedules and Statements conflict with these Global
      Notes, these Global Notes shall control.

10.   Specific Schedules Disclosures.

      (a)    Schedules Summary. Except as otherwise noted, the asset totals represent
             amounts as of the Petition Date and liability information provided herein represents
             the Debtors’ liabilities as of the Petition Date.

      (b)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
             in Incorporated and Unincorporated Businesses, including any Interest in an
             LLC, Partnership, or Joint Venture. Eiger’s ownership interests in subsidiaries
             have been listed in Schedule A/B, Part 4, as undetermined amounts on account of
             the fact that the fair market value of such ownership is dependent on numerous
             variables and factors, and may differ significantly from their net book value.

      (c)    Schedule A/B, Part 5 – Inventory. The Debtors’ products have three- or four-
             year shelf lives. The Debtors’ inventory is managed by third parties.

      (d)    Schedule A/B, Part 7 – Office furniture, fixtures, and equipment; and
             collectibles. The Debtors have used book values as of April 1, 2024 for reporting
             office furniture and equipment. There have been no valuations on any of such
             assets. These amounts may include leasehold improvements. The Debtors reserve
             all of their rights to re-categorize and/or re-characterize such asset holdings to the
             extent the Debtors determine that such holdings were improperly listed.

      (e)    Schedule A/B, Part 9 – Real Property. The Debtors lease all of their real
             properties and, as such, the leased properties’ value have been marked as
             undetermined. Furthermore, certain of the property leases reflected on Schedule
             A/B 55 may contain renewal options, guarantees of payment, options to purchase,
             rights of first refusal, rights to lease additional lands, and other miscellaneous
             rights. Such rights, powers, duties, and obligations are not separately set forth on
             Schedule A/B 55. The Debtors hereby expressly reserve the right to assert that any
             instrument listed on Schedule A/B 55 is an executory contract or unexpired lease
             within the meaning of section 365 of the Bankruptcy Code. The Debtors reserve
             all of their rights, claims, and causes of action with respect to claims associated
             with any contracts and agreements listed on Schedule A/B 55, including their right
             to dispute or challenge the characterization or the structure of any transaction,
             document, or instrument, including any intercompany agreement.

      (f)    Schedule A/B, Part 10 – Intangibles and Intellectual Property. The value of the
             Debtors’ intangible assets is listed as undetermined. The Debtors are not able to
             provide a schedule with values specific to its intellectual property (including but
             not limited to, patents, trademarks, internet domains, and licenses).




                                               8
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41               Desc Main
                               Document     Page 10 of 36



      (g)   Schedule A/B, Part 11 – All Other Assets. Eiger has incurred significant net
            operating losses (“NOLs”) and research and development credits (“R&D Credits”)
            (together, the “Tax Attributes”) since its inception. As of December 31, 2023, Eiger
            has generated federal NOLs of $322.5 million. The Debtors also has $47.1 million
            of state NOLs, $15.5 million of federal orphan drug tax credits, $4.0 million of state
            R&D Credits and $1.6 million of federal R&D Credits. Further, the Debtors
            estimate that they may generate additional Tax Attributes in the 2024 tax year.
            Such Tax Attributes have not been valued as of the Petition Date and may be
            restricted in their use.

      (h)   Schedule D – Creditors Who Have Claims Secured by Property. The Debtors
            have made reasonable efforts to report all secured claims against the Debtors on
            Schedule D based on the Debtors’ books and records as of the Petition Date.
            However, the actual value of claims against the Debtors may vary significantly
            from the represented liabilities. Parties in interest should not accept that the listed
            liabilities necessarily reflect the correct amount of any secured creditor’s allowed
            claims or the correct amount of all secured claims. Similarly, parties in interest
            should not anticipate that recoveries in these cases will reflect the relationship of
            the aggregate asset values and aggregate liabilities set forth in the Schedules.
            Parties in interest should consult their own professionals and advisors with respect
            to pursuing a claim. Although the Debtors and their professionals have generated
            financial information and data the Debtors believe to be reasonable, actual
            liabilities (and assets) may deviate significantly from the Schedules due to certain
            events that occur throughout these Chapter 11 Cases.

            Except as specifically stated herein, lessors of real property and equipment, utility
            companies, and any other parties which may hold security deposits or other security
            interests, have not been listed on Schedule D. The Debtors have also not listed on
            Schedule D any parties whose claims may be secured through rights of setoff,
            deposits, or advance payments.

            Although the Debtors may have scheduled claims of various creditors as secured
            claims, the Debtors reserve all rights to dispute or challenge the secured nature of
            any creditor’s claim or the characterization of the structure of any transaction or
            any document or instrument (including, without limitation, any intercompany
            agreement) related to such creditor’s claim (except as otherwise agreed to or stated
            pursuant to a stipulation, agreed order, or general order entered by the Bankruptcy
            Court that is or becomes final). The Debtors have not included on Schedule D the
            claims of any parties that may believe their claims are secured through setoff rights
            or inchoate statutory lien rights.

            The descriptions provided on Schedule D are intended only as a summary.
            Reference to the applicable loan agreements and related documents is necessary for
            a complete description of the collateral and the nature, extent, and priority of any
            liens. Nothing in these Global Notes or in the Schedules and Statements shall be
            deemed a modification, interpretation, or an acknowledgment of the terms of such
            agreements or related documents.


                                              9
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41                Desc Main
                               Document     Page 11 of 36



      (i)   Schedule E/F – Creditors Who Have Unsecured Claims.

            The Debtors have made reasonable efforts to report all priority and general
            unsecured claims against the Debtors on Schedule E/F based on the Debtors’ books
            and records as of the Petition Date. However, the actual value of claims against the
            Debtors may vary significantly from the represented liabilities. Certain claims on
            E/F may have been satisfied post-petition by the Debtors (including employee
            wages in the ordinary course) or third parties. Furthermore, accrued interest for
            some claims may not have been possible to determine. Parties in interest should
            not accept that the listed liabilities necessarily reflect the correct amount of any
            unsecured creditor’s allowed claims or the correct amount of all unsecured claims.
            Similarly, parties in interest should not anticipate that recoveries in these cases will
            reflect the relationship of the aggregate asset values and aggregate liabilities set
            forth in the Schedules. Parties in interest should consult their own professionals
            and advisors with respect to pursuing a claim. Although the Debtors and their
            professionals have generated financial information and data the Debtors believe to
            be reasonable, actual liabilities (and assets) may deviate significantly from the
            Schedules due to certain events that occur throughout these Chapter 11 Cases.

            The claims listed on Schedule E/F arose or were incurred on various dates. In
            certain instances, the date on which a claim arose may be unknown or subject to
            dispute. Although reasonable efforts have been made to determine the date upon
            which claims listed in Schedule E/F were incurred or arose, updating that date for
            each claim in Schedule E/F would be unduly burdensome and cost-prohibitive and,
            therefore, the Debtors have not listed a date for each claim listed on Schedule E/F.

            In the ordinary course of business, the Debtors generally receive invoices for goods
            and services after the delivery of such goods or services. As of the filing of the
            Schedules and Statements, the Debtors may not have received all invoices for
            payables, expenses, or liabilities that may have accrued before the Petition Date.
            Furthermore, payments to vendors and lienholders made subsequent to the filing of
            these Schedules will not be reflected in these Schedules. The Debtors reserve the
            right, but are not required, to amend Schedules E/F if they receive such invoices
            and/or make such payments. The claims of individual creditors are generally listed
            at the amounts recorded on the Debtors’ books and records and may not reflect all
            credits or allowances due from the creditor. The Debtors reserve all of their rights
            concerning credits or allowances.

            Part 1 - Creditors with Priority Unsecured Claims. The Debtors included certain
            claims related to severance. The Debtors also included certain claims owing to
            various taxing authorities to which the Debtors may be liable. Priority unsecured
            tax claims are listed as contingent since they have been paid through first day relief.




                                              10
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41                Desc Main
                               Document     Page 12 of 36



            Moreover, the inclusion of any amounts owed to taxing authorities does not
            constitute an admission by the Debtors of such liability.

            The Debtors reserve the right to assert that any claim listed on Schedule E/F does
            not constitute a priority claim under the Bankruptcy Code.

            Part 2 - Creditors with Nonpriority Unsecured Claims. The Debtors have used
            reasonable efforts to report all general unsecured claims against the Debtors in
            Schedule E/F, Part 2, based upon the Debtors’ books and records as of the Petition
            Date. The Debtors made a reasonable attempt to set forth their unsecured
            obligations, although the actual amount of claims against the Debtors may vary
            from those liabilities represented on Schedule E/F, Part 2. The listed liabilities,
            which have been listed on a gross accounts payable basis, may not reflect the correct
            amount of any unsecured creditor’s allowed claims or the correct amount of all
            unsecured claims.

            Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
            to executory contracts and unexpired leases. Such prepetition amounts, however,
            may be paid in connection with the assumption or assumption and assignment of
            an executory contract or unexpired lease. Prepetition amounts that may be paid in
            accordance with court orders, are marked as contingent. In addition, Schedule E/F,
            Part 2, does not include claims that may arise in connection with the rejection of
            any executory contracts and unexpired leases, if any, that may be or have been
            rejected.

      (j)   Schedule G – Executory Contracts and Unexpired Leases. The Debtors hereby
            reserve all rights to dispute the validity, status, or enforceability of any contracts,
            agreements or leases set forth in Schedule G and to amend or supplement
            Schedule G as necessary. Additionally, the placing of a contract or lease onto
            Schedule G shall not be deemed an admission that such contract is an executory
            contract or unexpired lease, or that it is necessarily a binding, valid, and enforceable
            contract. Any and all of the Debtors’ rights, claims and causes of action with
            respect to the contracts and agreements listed on Schedule G are hereby reserved
            and preserved. In addition, the Debtors are continuing their review of all relevant
            documents and expressly reserve their right to amend all Schedules at a later time
            as necessary and/or to challenge the classification of any agreement as an executory
            contract or unexpired lease in any appropriate filing.

            The names of employees and consultants and other individuals have been redacted
            for privacy purposes.

            Certain information, such as the contact information or addresses of the
            counterparty, may not be included where such information could not be obtained
            using the Debtors’ reasonable efforts. Listing a contract or agreement on Schedule
            G does not constitute an admission that such contract or agreement is an executory
            contract or unexpired lease or that such contract or agreement was in effect on the
            Petition Date or is valid or enforceable. Expired contracts and leases may have also



                                              11
Case 24-80043-sgj11     Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41               Desc Main
                                Document     Page 13 of 36



             been inadvertently included. The Debtors hereby reserve all of their rights to
             dispute the validity, status, or enforceability of any contracts, agreements, or leases
             set forth in Schedule G and to amend or supplement such Schedule as necessary.

             Certain of the leases and contracts listed on Schedule G may contain renewal
             options, guarantees of payment, indemnifications, options to purchase, rights of
             first refusal and other miscellaneous rights. Such rights, powers, duties, and
             obligations are not set forth separately on Schedule G. In addition, the Debtors may
             have entered into various other types of agreements in the ordinary course of their
             business, such as supplemental agreements and letter agreements, which documents
             may not be set forth in Schedule G. The Debtors reserve the right to dispute the
             effectiveness of any such contract listed on Schedule G or to amend Schedule G at
             any time to remove any contract.

             The Debtors have reserved all rights to dispute or challenge the characterization of
             any transaction or any document or instrument related to a creditor’s claim.

             Although the Debtors have made diligent attempts to attribute an executory contract
             to its rightful Debtor, in certain instances, the Debtors may have inadvertently failed
             to do so due to the complexity and size of the Debtors’ businesses. Accordingly,
             the Debtors reserve all of its rights with respect to the named parties of any and all
             executory contracts, including the right to amend Schedule G.

             Omission of a contract or agreement from Schedule G does not constitute an
             admission that such omitted contract or agreement is not an executory contract or
             unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
             any such omitted contract or agreement is not impaired by the omission. Certain
             Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
             prepetition credit facility. The guaranty obligations arising under these agreements
             are reflected on Schedules D and F only.

11.   Specific Statements Disclosures.

      (a)    Statements, Part 1, Question 1 – Gross Revenue from business. The Debtors
             recognize GAAP revenue in accordance with ASC Topic 606, Revenue from
             Contracts with Customers (“ASC 606”). Under ASC 606, an entity recognizes
             revenue when its customer obtains control of promised goods or services in an
             amount that reflects the consideration which the entity expects to receive in
             exchange for those goods or services. The Debtors recognize product revenue when
             a customer obtains control of the Debtors’ product, which occurs at a point in time,
             typically upon delivery to a customer as the delivery of the product is the only
             performance obligation.

             The product is distributed through an exclusive third-party logistics, or 3PL,
             distribution agent that does not take title to the product. The 3PL distributes
             Zokinvy to the customers, specialty pharmacies and specialty distributors
             (collectively referred to as “customers”), who then distribute the product to



                                               12
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41              Desc Main
                               Document     Page 14 of 36



            healthcare providers and patients. Taxes collected from the customer relating to
            product sales and remitted to governmental authorities are excluded from revenue.

            Revenues from product sales are recorded at the net sales price, or the transaction
            price, which includes estimates of variable consideration for which reserves are
            established and which result from discounts, returns, co-pay assistance,
            chargebacks, rebates, and other allowances that are offered within contracts
            between us and customers, healthcare providers and other indirect customers
            relating to the sale of Zokinvy. These reserves are based on the amounts earned or
            to be claimed on the related sales and are classified as reductions of accounts
            receivable or a current liability. Where appropriate, these estimates take into
            consideration a range of possible outcomes that are probability-weighted for
            relevant factors such as historical experience, current contractual and statutory
            requirements, specific known market events and trends, industry data and
            forecasted customer buying and payment patterns. Overall, these reserves reflect
            best estimates of the amount of consideration to which the Debtors are entitled
            based on the terms of the contract.

            The components of variable consideration related to product revenue were detailed
            in the Debtors’ Emergency Motion for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to Honor and Continue Certain Customer Programs
            and Customer Obligations in the Ordinary Course of Business, and (II) Authorizing
            Banks to Honor and Process Checks and Electronic Transfer Requests Related
            Thereto [Docket No. 17] and are customary in the pharmaceutical industry.

      (b)   Statements, Part 2, Question 4 – Payments and Transfers to Certain Insiders
            within 1 year before the filing. The Debtors reported payments to non-officer and
            officer insiders within the year prior to the Petition Date. Out of an abundance of
            caution, payments made to Alvarez & Marsal are reported both on Statements
            Question 4 and Question 11 due to the firm’s relationship to the Debtors as Chief
            Restructuring Officer. Payments made to Danforth Advisors LLC are also included
            out of an abundance of caution due to the Chief Financial Officer’s involvement
            with the company. Payments made to Eiger Group International, Inc. are also
            included out of an abundance of caution due to a former Director’s involvement
            with the company. The Debtors reserve all rights with respect to the determination
            or status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
            Code.

      (c)   Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtors
            have made reasonable best efforts to identify all current pending litigation and legal
            proceedings involving the Debtors. The Debtors reserve all of their rights and
            defenses with respect to any and all listed lawsuits and legal proceedings. The
            listing of such suits and proceedings shall not constitute an admission by the
            Debtors of any liabilities or that the actions or proceedings were correctly filed
            against the Debtors.




                                             13
Case 24-80043-sgj11    Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41             Desc Main
                               Document     Page 15 of 36



      (d)   Statements, Part 4, Question 9 – Gifts or Charitable Contributions within 2
            years before the filing. Research grants are not considered in the context of this
            question. Research grants differ from a charitable contribution since both parties
            benefit.

      (e)   Statements, Part 9, Question 16 – Collect and Retain personally identifiable
            information of customers. The Debtors collect a limited amount of information
            about customers. Examples of the types of information collected by the Debtors
            include, among other things, name, mailing address, telephone number, email and
            addresses.

            Please see the Debtor’s privacy policy at https://www.eigerbio.com/privacy-
            policy/.

      (f)   Statements, Part 9, Question 17– ERISA Plan as an Employee Benefit. The
            Debtors sponsor a 401(k) plan for their employees.

      (g)   Statements, Part 10, Question 20 – Off-premises storage. The Debtors use
            certain third parties, including, for example, storage of product samples, raw
            materials, and finished goods. The Debtors perform inventory counts at Eiger to
            ensure accurate inventory records.

      (h)   Statements, Part 13, Question 25 – Businesses in Which the Debtors Have an
            Interest. Eiger BioPharmaceuticals, Inc. has a 100% interest in EB Pharma LLC,
            Eiger BioPharmaceuticals Europe Limited, EBPI Merger Inc., and EigerBio Europe
            Limited.

      (i)   Statements, Part 13, Question 26 – Books, records, and financial statements.
            The Debtors’ common stock was publicly traded on the Nasdaq stock exchange.
            As of April 11, 2024, the Debtor’s common stock was suspended from trading.
            Prior to the suspension of trading on the Nasdaq, the Debtors reported their
            financial results directly to the U.S. Securities and Exchange Commission
            (the “SEC”) for compliance with regulations. Because the SEC filings and the
            website are public record, the Debtors do not maintain records of the parties that
            requested or obtained copies of any of the SEC filings from the SEC or the debtors.

      (j)   Statements, Part 13, Question 27 – Inventories – Supervisor and Dates of
            Inventories Taken Within 2 years. The Debtors perform inventory counts of raw
            materials and finished goods inventories on an annual basis or as needed for
            operational reasons. The information included in response to Question 27 reflects
            the last five (5) inventory dates.

      (k)   Statements, Part 13, Question 28 and 29 – Current and Former Officer and
            Directors. While the Debtors have made reasonable best efforts to list all
            applicable officers and directors for each Debtor in response to Statement Questions
            28 and 29, some may have been omitted. Disclosures relate specifically to
            terminated job titles or positions and are not indicative of the individuals’ current
            employment status with the Debtors.


                                             14
Case 24-80043-sgj11   Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41    Desc Main
                              Document     Page 16 of 36



      (l)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
            to Insiders. Refer to Statement Question 4 for this item.

                              *     *     *     *      *




                                         15
             Case 24-80043-sgj11                       Doc 7       Filed 05/06/24 Entered 05/06/24 23:28:41                        Desc Main
                                                                  Document     Page 17 of 36
    Fill in this information to identify the case:

    Debtor name Eiger BioPharmaceuticals Europe Limited


    United States Bankruptcy Court for the:   Northern District of Texas, Dallas Division

    Case number (If known) 24-80043 (SGJ)


                                                                                                                                    ¨ Check if this is an
                                                                                                                                        amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
 name and case number (if known).

 Part 1:    Income

 1. Gross revenue from business

    þ None
                                                                                                                             Gross revenue
           Identify the beginning and ending dates of the debtor’s fiscal                      Sources of revenue
                                                                                                                             (before deductions and
           year, which may be a calendar year                                                  Check all that apply
                                                                                                                             exclusions)

           From the beginning of                                                               ¨ Operating a business
           the fiscal year to                   From                        to
                                                                                               ¨ Other                         $
           filing date:                                 MM/DD/YYYY

           For prior year:                      From                        to                 ¨ Operating a business
                                                        MM/DD/YYYY                MM/DD/YYYY   ¨ Other                         $

           For the year before that:            From                        to                 ¨ Operating a business
                                                        MM/DD/YYYY                MM/DD/YYYY   ¨ Other                         $




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    þ None

                                                                                                                             Gross revenue from
                                                                                               Description of sources of     each source
                                                                                               revenue                       (before deductions and
                                                                                                                             exclusions)

           From the beginning of
           the fiscal year to                   From                        to                                                 $
           filing date:                                 MM/DD/YYYY

           For prior year:                      From                        to                                                 $
                                                        MM/DD/YYYY                MM/DD/YYYY

           For the year before that:            From                        to                                                 $
                                                        MM/DD/YYYY                MM/DD/YYYY




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 1
                 Case 24-80043-sgj11                           Doc 7          Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor      Eiger BioPharmaceuticals Europe Limited                          Document     Page 18 of 36 Case number (If known) 24-80043 (SGJ)
            Name



 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
     days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7, 575. (This amount may be adjusted
     on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     þ None
             Creditor’s name and address                                    Dates           Total amount or value       Reasons for payment or transfer
                                                                                                                        Check all that apply

     3.1
           ____________________________________________________________
                                                                                            $                            ¨ Secured debt
           ____________________________________________________________                                                  ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                         ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                        ¨ Services
                                                                                                                         ¨ Other

     3.2
           ____________________________________________________________
                                                                                            $                            ¨ Secured debt
           ____________________________________________________________                                                  ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                         ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                        ¨ Services
                                                                                                                         ¨ Other

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7, 575. (This amount may be adjusted on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).

     þ None
             Insider’s name and address                                   Dates         Total amount or value       Reasons for payment or transfer


     4.1                                                                                $                           _______________________________________________________
           _______________________________________________________

           _______________________________________________________                                                  _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




     4.2                                                                                $
           _______________________________________________________                                                  _______________________________________________________

           _______________________________________________________                                                  _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     Page 2
                Case 24-80043-sgj11                           Doc 7         Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                         Document     Page 19 of 36 Case number (If known) 24-80043 (SGJ)
           Name




  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     þ None
            Creditor’s name and address                                  Description of the property                                           Date                       Value of property
     5.1 ____________________________________________________________    _______________________________________________________                                          $
          ____________________________________________________________   _______________________________________________________
          Street
          ____________________________________________________________

          ____________________________________________________________
          City                      State               Zip Code




     5.2 ____________________________________________________________    _______________________________________________________                                          $
          ____________________________________________________________   _______________________________________________________
          Street
          ____________________________________________________________

          ____________________________________________________________
          City                      State               Zip Code




  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

     þ None
            Creditor’s name and address                                  Description of the action creditor took                               Date action was            Amount
                                                                                                                                               taken

         ____________________________________________________________    _______________________________________________________
                                                                                                                                                                          $
         ____________________________________________________________    _______________________________________________________
         Street
         ____________________________________________________________

         ____________________________________________________________
         City                      State               Zip Code


                                                                         Last 4 digits of account number: XXXX -


 Part 3:             Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity-within 1 year before filing this case.
     þ None
            Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.1 ____________________________ ____________________________                                      _______________________________________________________________   ¨ Pending
                                                                                                        _______________________________________________________________
                                                                                                        Street
                                                                                                                                                                          ¨ On appeal
            Case number
                                                                                                        _______________________________________________________________
                                                                                                        City                      State               Zip Code            ¨ Concluded




            Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.2 ____________________________ ____________________________                                                                                                        ¨ Pending
                                                                                                        _______________________________________________________________

                                                                                                        _______________________________________________________________
                                                                                                        Street
                                                                                                                                                                          ¨ On appeal
                                                                                                        _______________________________________________________________
            Case number                                                                                 City                      State               Zip Code            ¨ Concluded




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                          Page 3
                 Case 24-80043-sgj11                          Doc 7          Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor    Eiger BioPharmaceuticals Europe Limited
          Name
                                                                            Document     Page 20 of 36 Case number (If known) 24-80043 (SGJ)

  8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

    þ None
            Custodian’s name and address                                       Description of the property                              Value

          _______________________________________________________________                                                                $
          _______________________________________________________________
          Street                                                               Case title                                               Court name and address
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code

                                                                               Case number



                                                                               Date of order or assignment



 Part 4: Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
     value of the gifts to that recipient is less than $1,000

    þ None
            Recipient’s name and address                                       Description of the gifts or contributions                     Dates given    Value

    9.1
          _______________________________________________________________     _______________________________________________________
                                                                                                                                                            $
          _______________________________________________________________     _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor



   9.2    _______________________________________________________________     _______________________________________________________                       $
          _______________________________________________________________     _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor




 Part 5:         Certain Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
           Description of the property lost and                                Amount of payments received for the loss                      Date of loss   Value of property
           how the loss occurred                                              If you have received payments to cover the loss, for                          lost
                                                                              example, from insurance, government compensation,
                                                                              or tort liability, list the total received.
                                                                              List unpaid claims on Official Form 106A/B
                                                                              (Schedule A/B: Assets - Real and Personal Property).


          _______________________________________________________             _______________________________________________________                       $
          _______________________________________________________




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 4
                  Case 24-80043-sgj11                          Doc 7          Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                           Document     Page 21 of 36 Case number (If known) 24-80043 (SGJ)
           Name



 Part 6:              Certain Payments or Transfers

  11. Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
      the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
      seeking bankruptcy relief, or filing a bankruptcy case.
    þ None See Attached Rider
            Who was paid or who received the                                  If not money, describe any property                       Dates             Total amount or
            transfer?                                                         transferred                                                                 value
    11.1                                                                      _______________________________________________________                     $
                                                                              _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Email or website address



            Who made the payment, if not debtor?



            Who was paid or who received the                                  If not money, describe any property                       Dates             Total amount or
            transfer?                                                         transferred                                                                 value
    11.2
                                                                              _______________________________________________________
                                                                                                                                                          $
                                                                              _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




             Email or website address



            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
         this case to a self-settled trust or similar device.
         Do not include transfers already listed on this statement.
   þ None
            Name of trust or device                                           Describe any property transferred                         Dates transfers   Total amount or
                                                                                                                                        were made         value


                                                                              _______________________________________________________
                                                                                                                                                          $
                                                                              _______________________________________________________


             Trustee




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   Page 5
                  Case 24-80043-sgj11                          Doc 7          Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                           Document     Page 22 of 36  Case number (If known) 24-80043 (SGJ)
           Name



  13. Transfers not already listed on this statement
      List any transfers of money or other property-by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor within 2
      years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
      outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


    þ None
            Who received transfer?                                            Description of property transferred or                              Date transfer   Total amount or
                                                                              payments received or debts paid in exchange                         was made        value
    13.1
                                                                             _______________________________________________________
                                                                                                                                                                  $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor




            Who received transfer?                                            Description of property transferred or                              Date transfer   Total amount or
                                                                              payments received or debts paid in exchange                         was made        value
    13.2                                                                     _______________________________________________________
                                                                                                                                                                  $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor



 Part 7:        Previous Locations

  14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    þ Does not apply
            Address                                                                                                                          Dates of Occupancy

    14.1 _______________________________________________________________________________________________________________________________ From                     To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code



    14.2 _______________________________________________________________________________________________________________________________ From                     To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 6
                  Case 24-80043-sgj11                          Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                     Document     Page 23 of 36  Case number (If known) 24-80043 (SGJ)
           Name



 Part 8:        Health Care Bankruptcies

  15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          - diagnosing or treating injury, deformity, or disease, or
          - providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
            Facility name and address                                Nature of the business operation, including type of                               If debtor provides meals
                                                                     services the debtor provides                                                      and housing, number of
                                                                                                                                                       patients in debtor’s care
    15.1
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                     How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.

                                                                     _______________________________________________________
                                                                                                                                                      Check all that apply:
                                                                     _______________________________________________________                         ¨ Electronically
                                                                                                                                                     ¨ Paper

            Facility name and address                                Nature of the business operation, including type of                               If debtor provides meals
                                                                     services the debtor provides                                                      and housing, number of
                                                                                                                                                       patients in debtor’s care
    15.2
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                     How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.
                                                                                                                                                      Check all that apply:
                                                                     _______________________________________________________

                                                                     _______________________________________________________                         ¨ Electronically
                                                                                                                                                     ¨ Paper
 Part 9:          Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

    ¨ No.                                                                                         Please see the Debtor’s privacy policy at
    þ Yes. State the nature of the information collected and retained.                            https://www.eigerbio.com/privacy-policy/.
                  Does the debtor have a privacy policy about that information?
                  ¨ No
                  þ Yes
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403( b), or other
      pension or profit-sharing plan made available by the debtor as an employee benefit?

    þ No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                  ¨ No. Go to Part 10.
                  ¨ Yes. Fill in below
                        Name of plan                                                                                           Employer identification number of the plan
                                                                                                                      EIN:

                      Has the plan been terminated?
                      ¨ No
                      ¨ Yes

  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 7
                  Case 24-80043-sgj11                          Doc 7      Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                       Document     Page 24 of 36  Case number (If known) 24-80043 (SGJ)
           Name



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
         old, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

    þ None
            Financial institution name and address                     Last 4 digits of              Type of account                    Date account was                   Last balance
                                                                       account number                                                   closed, sold, moved,               before closing or
                                                                                                                                        or transferred                     transfer
    18.1                                                             XXXX-                         ¨ Checking                                                             $
           _______________________________________________________

           _______________________________________________________
                                                                                                   ¨ Savings
           Street
           _______________________________________________________                                 ¨ Money Market
           _______________________________________________________
           City                      State         Zip Code
                                                                                                   ¨ Brokerage
                                                                                                   ¨ Other
    18.2                                                             XXXX-                         ¨ Checking                                                             $
           _______________________________________________________

           _______________________________________________________
                                                                                                   ¨ Savings
           Street
           _______________________________________________________                                 ¨ Money Market
           _______________________________________________________
           City                      State         Zip Code
                                                                                                   ¨ Brokerage
                                                                                                   ¨ Other

  19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    þ None
            Depository institution name and                           Names of anyone with access to it                      Description of the contents                           Does debtor
            address                                                                                                                                                                still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________
                                                                                                                                                                                 ¨ No
           _______________________________________________________   ____________________________________________________   ____________________________________________________ ¨
                                                                                                                                                                                   Yes
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address


                                                                     ____________________________________________________

                                                                     ____________________________________________________



  20. Off-premises storage

         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
         in which the debtor does business.

    þ None
            Facility name and address                                 Names of anyone with access to it                      Description of the contents                           Does debtor
                                                                                                                                                                                   still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ No
           _______________________________________________________
           Street
                                                                     ____________________________________________________   ____________________________________________________   ¨ Yes
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address

                                                                     ____________________________________________________

                                                                     ____________________________________________________




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                       Page 8
                  Case 24-80043-sgj11                          Doc 7        Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                         Document     Page 25 of 36  Case number (If known) 24-80043 (SGJ)
           Name



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

    þ None
            Owner’s name and address                                 Location of the property                                  Description of the property                     Value

                                                                                                                                                                              $
           _______________________________________________________   ____________________________________________________   _______________________________________________

           _______________________________________________________   ____________________________________________________   _______________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




 Part 12: Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.


  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law ? Include settlements and orders.

    þ No
    ¨ Yes. Provide details below.
            Case title                                                 Court or agency name and address                           Nature of the case                               Status of case

                                                                     _______________________________________________________     _______________________________________________   ¨ Pending
                                                                     _______________________________________________________
                                                                     Street
                                                                                                                                 _______________________________________________   ¨ On appeal
            Case Number                                              _______________________________________________________
                                                                                                                                                                                   ¨ Concluded
                                                                     _______________________________________________________
                                                                     City                      State         Zip Code




  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

    þ No
    ¨ Yes. Provide details below.
            Site name and address                                      Governmental unit name and address                         Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________     _______________________________________________

           _______________________________________________________   _______________________________________________________     _______________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                         Page 9
                  Case 24-80043-sgj11                          Doc 7      Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                       Document     Page 26 of 36  Case number (If known) 24-80043 (SGJ)
           Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?
    þ No
    ¨ Yes. Provide details below.
            Site name and address                                    Governmental unit name and address                        Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________ ________________________________________________

           _______________________________________________________   _______________________________________________________ ________________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

    þ None
            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.1 _______________________________________________________     ____________________________________________________              EIN:
           _______________________________________________________   ____________________________________________________
           Street
           _______________________________________________________
                                                                                                                                       Dates business existed
           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.2                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________              Dates business existed
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code
                                                                                                                                       From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.3                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________
           Street                                                                                                                      Dates business existed
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                     Page 10
                  Case 24-80043-sgj11                           Doc 7        Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                          Document     Page 27 of 36  Case number (If known) 24-80043 (SGJ)
           Name




  26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

           ¨ None           See Attached Rider
            Name and address                                                                                                               Dates of service


  26a.1 _________________________________________________________________________________________________________________________         From                                To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




            Name and address                                                                                                               Dates of service


  26a.2 _________________________________________________________________________________________________________________________         From                                To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




         26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.

           ¨ None           See Attached Rider
                  Name and address                                                                                                         Dates of service


         26b.1 ______________________________________________________________________________________________________________________     From                                To
                 ______________________________________________________________________________________________________________________
                 Street
                 ______________________________________________________________________________________________________________________

                 ______________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




                  Name and address                                                                                                         Dates of service


         26b.2                                                                                                                            From                                To
                 ______________________________________________________________________________________________________________________

                 ______________________________________________________________________________________________________________________
                 Street
                 ______________________________________________________________________________________________________________________

                 ______________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           ¨ None           See Attached Rider
                  Name and address                                                                                                         if any books of account and records are
                                                                                                                                           unavailable, explain why

         26c.1
                 ______________________________________________________________________________________________________________________   ____________________________________________________

                 ______________________________________________________________________________________________________________________   ____________________________________________________
                 Street
                 ______________________________________________________________________________________________________________________

                 ______________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                            Page 11
                  Case 24-80043-sgj11                           Doc 7        Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                          Document     Page 28 of 36  Case number (If known) 24-80043 (SGJ)
           Name




                  Name and address                                                                                                           if any books of account and records are
                                                                                                                                             unavailable, explain why

         26c.2
                 ______________________________________________________________________________________________________________________   ____________________________________________________

                 ______________________________________________________________________________________________________________________   ____________________________________________________
                 Street
                 ______________________________________________________________________________________________________________________

                 ______________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.

           ¨ None           See Attached Rider

                  Name and address


         26d.1 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




                  Name and address


         26d.2 _________________________________________________________________________________________________________________________
                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




  27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?

         þ No
         ¨ Yes. Give the details about the two most recent inventories.

            Name of the person who supervised the taking of the inventory                                                Date of             The dollar amount and basis (cost,
                                                                                                                         inventory           market, or other basis) of each inventory

                                                                                                                                              $

            Name and address of the person who has possession of
            inventory records

   27.1 ___________________________________________________________________________________________________________
           ___________________________________________________________________________________________________________
           Street
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           City                                          State                                        Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                           Page 12
                 Case 24-80043-sgj11                          Doc 7         Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                                                     Case number (If known) 24-80043 (SGJ)
          Name
                                                                           Document     Page 29 of 36

            Name of the person who supervised the taking of the inventory                                               Date of     The dollar amount and basis (cost,
                                                                                                                        inventory   market, or other basis) of each inventory

                                                                                                                                     $

            Name and address of the person who has possession of
            inventory records

   27.2
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          Street
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          City                                          State                                        Zip Code




  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders,
      or other people in control of the debtor at the time of the filing of this case.

            Name                                             Address                                                        Position and nature of any       % of interest, if any
                                                                                                                            interest

          See Attached Rider




  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
      members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    þ No
    ¨ Yes. Identify below.
            Name                                             Address                                                        Position and nature of       Period during which
                                                                                                                            any interest                 position or interest
                                                                                                                                                         was held
                                                                                                                                                     From                  To

                                                                                                                                                     From                  To

                                                                                                                                                     From                  To

                                                                                                                                                     From                  To


  30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?

    þ No
    ¨ Yes. Identify below.
            Name and address of recipient                                                            Amount of money or                  Dates                 Reason for
                                                                                                     description and value of                                  providing the value
                                                                                                     property
   30.1
                                                                                                                                                              ____________________________

                                                                                                                                                              ____________________________




            Relationship to debtor




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              Page 13
                 Case 24-80043-sgj11                          Doc 7         Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor    Eiger BioPharmaceuticals Europe Limited                          Document     Page 30 of 36  Case number (If known) 24-80043 (SGJ)
          Name




           Name and address of recipient                                                         Amount of money or           Dates               Reason for
                                                                                                 description and value of                         providing the value
                                                                                                 property
   30.2
          ____________________________________________________________________________________                                                   ____________________________

          ____________________________________________________________________________________                                                   ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




           Relationship to debtor



  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    þ No
    ¨ Yes. Identify below.
           Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                                 corporation
                                                                                                                 EIN:


  32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund ?

    þ No
    ¨ Yes. Identify below.
           Name of the pension fund                                                                              Employer Identification number of the pension
                                                                                                                 fund
                                                                                                                 EIN:



 Part 14: Signature and Declaration


          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
          connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.

          I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
          is true and correct.

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on         05/06/2024
                                MM / DD / YYYY



     X /s/ Douglas Staut                                                                          Printed name   Douglas Staut

          Signature of individual signing on behalf of the debtor

          Position or relationship to debtor             Chief Restructuring Officer




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    ¨ No
    þ Yes




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 Page 14
             Case 24-80043-sgj11                 Doc 7Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 31 of 36           Case Number: 24-80043 (SGJ)

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                    SOFA Question 11: Payments related to bankruptcy



Who was paid or who received         Email or website      Who made payment,        If not money, describe any        Date                  Amount
the transfer?                                              if not the debtor?       property transferred


All disbursements listed in Statement 11 are reported on Eiger BioPharmaceuticals, Inc. All payments made were for the benefit of all Debtors.




                                                                          Page 1 of 1
          Case 24-80043-sgj11                Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 32 of 36             Case Number: 24-80043 (SGJ)

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

     SOFA Question 26a: List all accountants and bookkeepers who maintained the debtor 's books and records within 2 years before filing this case.



Name and Address                                                                                       From                      To


NAME ON FILE                                                                                           05/01/2023                Present
ADDRESS ON FILE
NAME ON FILE                                                                                           03/01/2023                Present
ADDRESS ON FILE
NAME ON FILE                                                                                           05/01/2019                03/01/2023
ADDRESS ON FILE
NAME ON FILE                                                                                           04/01/2020                05/01/2023
ADDRESS ON FILE
NAME ON FILE                                                                                           12/01/2018                03/01/2023
ADDRESS ON FILE
NAME ON FILE                                                                                           03/01/2023                04/29/2024
ADDRESS ON FILE




                                                                      Page 1 of 1
            Case 24-80043-sgj11                Doc 7  Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 33 of 36             Case Number: 24-80043 (SGJ)

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

   SOFA Question 26b: List all firms or individuals who have audited, compiled, or reviewed debtor 's books of account and records or prepared a financial
                                                       statement within 2 years before filing this case.


Name and Address                                                                                          From                      To


DELOITTE TAX LLP                                                                                          08/01/2019                Present
4022 SELLS DRIVE
HERMITAGE, TN 37076
KPMG LLP                                                                                                  10/13/2015                Present
DEPT 0922
PO BOX 120922
DALLAS, TX 75312-0922
MOSS ADAMS LLP                                                                                            05/04/2022                Present
999 THIRD AVENUE, SUITE 2800
SEATTLE, WA 98104




                                                                        Page 1 of 1
          Case 24-80043-sgj11                Doc 7    Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 34 of 36             Case Number: 24-80043 (SGJ)

                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

         SOFA Question 26c: Firms or individuals who were in possession of the debtor 's books of account and records when this case is filed.



Name and Address                                                                                     If unavailable, why?


NAME ON FILE
ADDRESS ON FILE
DELOITTE TAX LLP
4022 SELLS DRIVE
HERMITAGE, TN 37076
KPMG LLP
DEPT 0922
PO BOX 120922
DALLAS, TX 75312-0922
NAME ON FILE
ADDRESS ON FILE
NAME ON FILE
ADDRESS ON FILE
MOSS ADAMS LLP
999 THIRD AVENUE, SUITE 2800
SEATTLE, WA 98104
NAME ON FILE
ADDRESS ON FILE
NAME ON FILE
ADDRESS ON FILE
NAME ON FILE
ADDRESS ON FILE




                                                                     Page 1 of 1
            Case 24-80043-sgj11                 Doc 7 Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 35 of 36             Case Number: 24-80043 (SGJ)

                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 26d: List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issues a financial
                                                         statement within 2 years before filing this case.


Name and Address



PURSUANT TO THE REQUIREMENTS OF THE SECURITIES EXCHANGE ACT OF 1934, AS AMENDED, EIGER BIOPHARMACEUTICALS, INC. HAS
FILED WITH THE U.S. SECURITIES AND EXCHANGE COMMISSION (THE "SEC") REPORTS ON FORM 8-K, FORM 10-Q, FORM 10-K, ETC. THESE SEC
FILINGS CONTAIN CONSOLIDATED FINANCIAL INFORMATION RELATING TO THE DEBTORS. ADDITIONALLY, CONSOLIDATED FINANCIAL
INFORMATION FOR THE DEBTORS IS POSTED ON THE COMPANY'S WEBSITE AT
HTTPS://IR.EIGERBIO.COM/FINANCIAL-INFORMATION/SEC-FILINGS. BECAUSE THE SEC FILINGS AND THE WEBSITE ARE PUBLIC RECORD, THE
DEBTORS DO NOT MAINTAIN RECORDS OF THE PARTIES THAT REQUESTED OR OBTAINED COPIES OF ANY OF THE SEC FILINGS FROM THE SEC
OR THE DEBTORS.




                                                                          Page 1 of 1
            Case 24-80043-sgj11                 Doc 7 Filed 05/06/24 Entered 05/06/24 23:28:41 Desc Main
Debtor Name: Eiger BioPharmaceuticals Europe Limited
                                                     Document     Page 36 of 36             Case Number: 24-80043 (SGJ)

                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

SOFA Question 28: List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
                                                    control of the debtor at the time of the filing of this case.


Name                                       Address                                                     Position                              % Interest


DAVID APELIAN                              ADDRESS ON FILE                                             Director, Chief Executive Officer                  N/A

EIGER BIOPHARMACEUTICALS, INC.             2155 PARK BOULEVARD                                         Parent Company                                  100%
                                           PALO ALTO, CA 94306
JAMES ANDREW VOLLINS                       ADDRESS ON FILE                                             General Counsel, Chief Compliance                  N/A
                                                                                                       Officer, Corporate Secretary




                                                                         Page 1 of 1
